     Case 5:23-cv-00227-TKW-MAL Document 13 Filed 02/16/24 Page 1 of 2


                                                                        Page 1 of 2

                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         PANAMA CITY DIVISION

NIXON BOLIVAR RIVERA FLORES

      Petitioner,
v.                                          Case No. 5:23-cv-227/TKW/MAL

BARRY WINGFIELD,
WARDEN F.C.I. MARIANNA

      Respondent.
_________________________________/

                                   ORDER

      This case is before the Court based on the magistrate judge=s Report and

Recommendation (Doc. 12). No objections were filed.

      Upon due consideration of the Report and Recommendation and the case file,

the Court agrees with the magistrate judge’s determination that this case should be

dismissed because it is moot with respect to the ICE hearing and because Petitioner

did not exhaust his administrative remedies regarding the denial of First Step Act

credits. Accordingly, it is

      ORDERED that:

      1. The magistrate judge=s Report and Recommendation is adopted and

         incorporated by reference in this Order.

      2. This case is DISMISSED as moot and for failure to exhaust administrative
Case 5:23-cv-00227-TKW-MAL Document 13 Filed 02/16/24 Page 2 of 2


                                                                  Page 2 of 2

   remedies.

3. The Clerk shall enter judgment in accordance with this Order and close the

   case file.

DONE and ORDERED this 16th day of February, 2024.




                                __________________________________
                                T. KENT WETHERELL, II
                                UNITED STATES DISTRICT JUDGE
